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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 19-1283V
                                     Filed: November 2, 2021
                                          UNPUBLISHED


    KIRK RICHARDSON,

                         Petitioner,
    v.                                                        Joint Stipulation on Damages;
                                                              Tetanus, diphtheria, acellular
    SECRETARY OF HEALTH AND                                   pertussis (Tdap) vaccine; Guillain-
    HUMAN SERVICES,                                           Barre syndrome (GBS)

                        Respondent.


Leah Durant, Law Offices of Leah V. Durant, PLLC, Washington, D.C., for petitioner.
Kyle Pozza, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION 1

       On August 27, 2019, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre syndrome (“GBS”) as a
result of his June 19, 2018 tetanus, diphtheria, acellular pertussis (“Tdap”) vaccination.
Petition at 1; Stipulation, filed November 2, 2021, at ¶ 4. Petitioner further alleges that
he has experienced the residual effects of his condition for more than six months, that
there has been no prior award or settlement of a civil action for damages as a result of
his condition, and that his vaccine was administered in the United States. Petition at 4;
Stipulation at ¶¶ 3-5. “Respondent denies that the Tdap vaccine caused petitioner to
suffer GBS or any other injury, and/or his current condition.” Stipulation at ¶ 6.

       Nevertheless, on November 2, 2021, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the


1 Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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stipulation reasonable and adopt it as the decision of the Court in awarding damages,
on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $135,181.05 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                          s/Daniel T. Horner
                                          Daniel T. Horner
                                          Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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